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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

SASHADA MAKTHEPHARAK,                     )
    Plaintiff,                            )
                                          )
vs.                                       )
                                          )
LAURA KELLY, Governor of Kansas;          )
JEFF ZMUDA, Kansas Secretary of           )
                                                    Case No.
Corrections; JONATHAN OGLETREE,           )
Chair, Kansas Prisoner Review Board;      )
JEANNIE WARK, Member, Kansas              )
Prisoner Review Board; and MARK           )
KEATING, Member, Kansas Prisoner          )
Review Board.                             )
      Defendants.                         )

      CIVIL COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
        Plaintiff Sashada Makthepharak alleges the following for his cause of action

against Defendants:

                              Jurisdiction and Venue

        1.    Plaintiff brings these claims under 42 U.S.C. § 1983. This Court has

subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343, as well as under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq. Additionally, it has
supplemental jurisdiction over the state law claims asserted in this complaint under

28 U.S.C. § 1367.

        2.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because all

acts and omissions giving rise to these claims occurred or are to be performed in the

State of Kansas.

        3.    This Court has personal jurisdiction over all Defendants because all

Defendants are residents of the State of Kansas.




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                                     The Parties

         4.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         5.   Plaintiff Sashada Makthepharak is an inmate in the custody of the

Kansas Department of Corrections (“DOC”), DOC ID #73697, confined in the

Lansing Correctional Facility located at 301 East Kansas Street, Lansing, Kansas

66043. Plaintiff was born December 14, 1984. In October 2001, when Plaintiff was

a 16-year-old juvenile, a jury in the District Court of Sedgwick County, Kansas

convicted him of first-degree murder under a felony-murder theory in violation of

K.S.A. § 3401(b) (2001), aggravated burglary in violation of K.S.A. § 21-3716, and

criminal possession of a firearm in violation of K.S.A. § 21-4204(a)(3). The offenses

occurred in May 2001, when Plaintiff was a 16-year-old juvenile, and a juvenile

court referred the case to the district court. In December 2001, Plaintiff was

sentenced under K.S.A. §§ 21-6806(c) and 22-3717(a)(2) (2001) to life in prison

without eligibility for parole for 20 years for the felony murder count, the statutorily

mandatory sentence for that offense. The court sentenced him to 64 months in

prison on the other counts, to be served consecutively.

         6.   Defendant Laura Kelly is the Governor of the State of Kansas and in
her official capacity was working under color of state law when the allegations in

this complaint arose. Governor Kelly is a resident of the State of Kansas. In her

capacity as Governor, Governor Kelly appoints the Kansas Secretary of Corrections,

subject to confirmation by the Kansas Senate, who serves at her pleasure. K.S.A. §

75-5205. In her capacity as Governor, Governor Kelly decides whether any

individual will receive a grant of executive clemency. Governor Kelly is sued in her

official capacity.

         7.   Defendant Jeff Zmuda is the Kansas Secretary of Corrections and in
his official capacity was working under color of state law when the allegations in


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this complaint arose. Mr. Zmuda is a resident of the State of Kansas. Mr. Zmuda

was appointed by Governor Kelly in 2019 and confirmed by the Senate in 2020. Mr.

Zmuda serves at Governor Kelly’s pleasure. Mr. Zmuda is sued in his official

capacity. In his capacity as Secretary of Corrections, Mr. Zmuda is the chief

executive of the DOC, and is responsible, among other things, for:

      a. managing the state-operated prisons in which prisoners serving life

         sentences are housed, and for the education, training, vocational

         education, rehabilitation and recreation of prisoners under the jurisdiction

         of the DOC, as well as the transfer of prisoners from one penal institution

         to another, including how individuals are assigned to any particular

         security status or facility;

      b. appointing the Prisoner Review Board consisting of three members who

         are existing employees of the DOC and serve at his pleasure, and for

         administering the Prisoner Review Board under his supervision, a

         majority vote of which is necessary to grant parole to a prisoner serving a

         life sentence, K.S.A. § 75-52,152;

      c. designating the chairperson and vice-chairperson of the Prisoner Review

         Board, K.S.A. § 22-3709;
      d. putting together agreements with inmates specifying those educational,

         vocational, mental health or other programs which he determines the

         inmate must satisfactorily complete in order to be prepared for release on

         parole supervision, K.S.A. § 75-5210a(a), completion of which is a

         requirement for the Prisoner Review Board to grant an inmate parole,

         K.S.A. § 22-3713(g); and

      e. providing the Prisoner Review Board with necessary personnel and

         accounting services, K.S.A. § 22-3713(b).




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      8.     Defendant Jonathan Ogletree is the Chair of the Prisoner Review

Board and one of three members of the Prisoner Review Board, and in his official

capacity was working under color of state law when the allegations in this

complaint arose. Mr. Ogletree is a resident of the State of Kansas. Mr. Ogletree

has been an employee of the Kansas DOC since 1989, was appointed to the Prisoner

Review Board by Mr. Zmuda’s predecessor and designated the Prisoner Review

Board’s chair, and serves at Mr. Zmuda’s pleasure. In his capacity as Chair of the

Prisoner Review Board, Mr. Ogletree is responsible for organizing and

administering the activities of the Prisoner Review Board, which requires a

majority vote to grant parole to a prisoner serving a life sentence. K.S.A. § 22-3709.

Mr. Ogletree is sued in his official capacity.

      9.     Defendant Jeannie Wark is one of three members of the Prisoner

Review Board, and in her official capacity was working under color of state law

when the allegations in this complaint arose. Ms. Wark is a resident of the State of

Kansas. Ms. Wark has been an employee of the Kansas DOC since 1991, was

appointed to the Prisoner Review Board by Mr. Zmuda’s predecessor, and serves at

Mr. Zmuda’s pleasure. Ms. Wark is sued in her official capacity.

      10.    Defendant Mark Keating is one of three members of the Prisoner
Review Board, and in his official capacity was working under color of state law

when the allegations in this complaint arose. Mr. Keaing is a resident of the State

of Kansas. Mr. Keating has been an employee of the Kansas DOC since 1999, was

appointed to the Prisoner Review Board by Mr. Zmuda’s predecessor, and serves at

Mr. Zmuda’s pleasure. Mr. Keating is sued in his official capacity.




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                                      Introduction

         11.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         12.   This challenge is brought by Mr. Makthepharak, an inmate who was

sentenced to a life sentence in Kansas state court for acts committed when he was a

juvenile, without appropriate consideration of his youth and its attendant

characteristics. Mr. Makthepharak has been, and continues to be, denied a

meaningful and realistic opportunity for release, in violation of U.S. Const. Amend.

VIII and Section 9 of the Kansas Bill of Rights.

         13.   In a series of decisions, the U.S. Supreme Court has forbidden as

unconstitutional imprisonment for life without parole (“LWOP”), or its equivalent,

for all juveniles but the “rare juvenile whose crime reflects irreparable corruption,”

and declared this substantive constitutional rule retroactive. Montgomery v.

Louisiana, 577 U.S. 190, 208 (2016) (quoting Miller v. Alabama, 567 U.S. 460, 474,

479-80 (2012)); see also Graham v. Florida, 560 U.S. 48, 82 (2010).

         14.   In these decisions, the Supreme Court held that young people are

constitutionally different than adults for sentencing purposes due to three

distinctive attributes that mitigate their culpability: transient immaturity;
vulnerability to external forces; and character traits that are still being formed.

Montgomery, 577 U.S. at 207 (quoting Miller, 567 U.S. at 471); see also Graham,

560 U.S. at 68; Roper v. Simmons, 543 U.S. 551, 569-570 (2005)).

         15.   The “penological justifications for life without parole collapse in light of

‘the distinctive attributes of youth,’” rendering LWOP an unconstitutionally

“disproportionate” punishment as to “all but the rarest of juvenile offenders, whose

crimes reflect permanent incorrigibility.” Montgomery, 577 U.S. at 208-09.

         16.   Accordingly, the Supreme Court has forbidden as unconstitutional
LWOP sentences – or its equivalent – for youth who have committed non-homicide


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offenses (Graham), and for any youth whose homicide crime reflects “unfortunate

yet transient immaturity.” Montgomery, 577 U.S. at 208 (quoting Miller, 567 U.S.

at 479). These decisions establish that only in the “rarest” cases of “irreparable

corruption” will such a penalty be appropriate. So, by definition, criminal

sentencing schemes that mandate life fail to allow adequate consideration of youth

to make this assessment. Montgomery, 577 U.S. at 207-08; Miller, 567 U.S. at 483.

      17.     The Supreme Court defines “life without parole” as a sentence of life

that denies an individual a “meaningful” and “realistic” opportunity for release

upon demonstrated maturity and rehabilitation. Graham, 560 U.S. at 75, 82;

Miller, 567 U.S. at 479. It expressly has rejected executive clemency as affording

that opportunity. Graham, 560 U.S. at 70 (citing Solem v. Helm, 463 U.S. 277, 300-

01 (1983)).

      18.     Together, these decisions establish that the Eight Amendment forbids

a statutory scheme that (a) imposes life sentences upon minors without appropriate

consideration of their distinctive attributes as youth, and then (b) fails to provide

them a meaningful and realistic opportunity for release. The law of Kansas fails

this test on both accounts.

      19.     In Kansas, many individuals, including Mr. Makthepharak, are
serving life sentences for offenses committed as juveniles. Mr. Makthepharak was

sentenced under Kansas’s mandatory sentencing scheme, which requires judges to

impose life sentences in first-degree felony murder cases without adequate

consideration of youth to determine whether an individual is among the rare minors

whose offense reflects “irreparable corruption.” Mr. Makthepharak is serving a life

sentence that in theory is parole eligible.

      20.     Mr. Makthepharak now has served more than 20 years on his life

sentence. Yet, no matter the level of maturity or rehabilitation or lack of it that Mr.
Makthepharak may demonstrate, he is and will be denied parole principally due to


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the fact that he denies responsibility for the offense in the first place, which

occurred when he was a juvenile.

      21.    As a matter of Kansas law, the authority to parole any person

sentenced to life lies first in the hands of the Secretary of Corrections, an appointee

of the Governor, who must make an agreement and plan for the prisoner to meet in

order to be paroled, and then exclusively the Prisoner Review Board, who serves at

the Secretary of Corrections’ pleasure and also is responsible for recommending

pardons and other clemency to the Governor. But rather than affording Mr.

Makthepharak a meaningful and realistic opportunity for release, Kansas’s parole

scheme functions as a system of ad hoc clemency in which grants of release are

exceptionally rare, are governed by no substantive, enforceable standards, and are

unreviewable. Furthermore, Kansas and the defendants named in this complaint

lack policies that protect the constitutional rights of Mr. Makthepharak and

similarly situated juveniles sentenced to life, to a meaningful and realistic

opportunity for release, instead relying on risk assessment tools to make

recommendations about release that discriminate against those who were minors at

the time of offense and prohibit youth from progressing through the Kansas DOC

system to demonstrate their rehabilitation.
      22.    As a result of these practices, Mr. Makthepharak and others similarly

situated who have matured, reformed, and demonstrated rehabilitation, and who

the Supreme Court says deserves an opportunity for a second chance to live outside

prison walls, are far more likely to die in prison in Kansas than ever receive a

second chance. Mr. Makthepharak’s sentence has been converted into a de facto

LWOP sentence by virtue of the denial of a meaningful and realistic opportunity for

release.

      23.    In this respect, the Kansas parole system violates the state and federal
constitutions as applied to individuals like Mr. Makthepharak serving life sentences


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for offenses committed as youth, and subjects them to unconstitutionally

disproportionate punishment.

      24.    Plaintiff is an individual who was sentenced to consecutive life

sentences for an offense committed as a juvenile without adequate consideration of

his youth, who has been incarcerated for decades, who has matured and

demonstrated his rehabilitation during his incarceration through his behavior and

institutional accomplishments, but who is nonetheless denied any fair opportunity

for release by the defendants.

      25.    Defendants are state officials responsible for the Kansas policies and

practices that deny Mr. Makthepharak, as well as others similarly situated, the

requisite meaningful and realistic opportunity for release, thereby converting his

life sentence to a de facto LWOP sentence without regard for his youth.

      26.    This complaint seeks declaratory and injunctive relief: (1) to declare

unconstitutional Kansas’s parole process to the extent that it fails to provide

adequate consideration of youth status, (2) to remedy Kansas’s unconstitutional

failure to provide a meaningful and realistic opportunity for release to Mr.

Makthepharak, as well as others similarly situated, and (3) to provide relief for Mr.

Makthepharak, who received neither adequate consideration of his youth at
sentencing nor any meaningful and realistic opportunity for release over the

decades since, resulting in grossly disproportionate punishment in violation of the

Eighth Amendment and § 9 of the Kansas Bill of Rights.




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                                 Factual Allegations

I.       Youth have diminished culpability and greater prospects for reform
         than adults and the state cannot, except in the rarest of cases,
         condemn young offenders to die in prison without a meaningful and
         realistic opportunity for release.

     A. The Supreme Court has confirmed youth are different than adults in
        ways that diminish the penological justifications for the harshest
        punishments.
         27.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         28.   A series of Supreme Court decisions have established that “children

are constitutionally different from adults for purposes of sentencing.” Montgomery,

577 U.S. at 206 (quoting Miller, 567 U.S. at 471 (citing Roper, 543 U.S. at 569-70;

Graham, 560 U.S. at 68 (2015))).

         29.   “These differences result from children’s diminished culpability and

greater prospects for reform, and are apparent in three primary ways.” Id. (internal

quotation marks and citations omitted).

         30.   “First, children have a lack of maturity and an underdeveloped sense

of responsibility, leading to recklessness, impulsivity, and heedless risk-taking.” Id.
(internal quotation marks and citations omitted).

         31.   “Second, children are more vulnerable to negative influences and

outside pressures, including from their family and peers; they have limited control

over their own environment and lack the ability to extricate themselves from

horrific, crime-producing settings.” Id. (internal quotation marks and citations

omitted).

         32.   “And third, a child’s character is not as well-formed as an adult’s; his

traits are less fixed and his actions less likely to be evidence of irretrievable
depravity.” Id. (internal quotation marks and citations omitted).


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      33.       “The Eighth Amendment’s prohibition of cruel and unusual

punishment guarantees individuals the right not to be subjected to excessive

sanctions. That right ... flows from the basic precept of justice that punishment for

crime should be graduated and proportioned to both the offender and the offense.”

Miller, 567 U.S. at 469 (internal quotation marks and citations omitted).

      34.       A LWOP sentence, or its functional equivalent, “‘means denial of hope;

it means that good behavior and character improvement are immaterial; it means

that whatever the future might hold in store for the mind and spirit of [the convict],

he will remain in prison for the rest of his days.’” Graham, 560 U.S. at 70 (quoting

Naovarath v. State, 779 P.2d 944 (Nev. 1989)).

      35.       “[T]he penological justifications for life without parole collapse in light

of ‘the distinctive attributes of youth.’” Montgomery, 577 U.S. at 208 (quoting

Miller, 567 U.S. at 472).

      36.       “Because retribution ‘relates to an offender’s blameworthiness, the

case for retribution is not as strong with a minor as with an adult.’” Id. at 207

(quoting Miller, 567 U.S. at 472).

      37.       “The deterrence rationale likewise does not suffice, since ‘the same

characteristics that render juveniles less culpable than adults-their immaturity,
recklessness, and impetuosity-make them less likely to consider potential

punishment.’” Id. (quoting Miller, 567 U.S. at 472).

      38.       “The need for incapacitation is lessened, too, because ordinary

adolescent development diminishes the likelihood that a juvenile offender ‘forever

will be a danger to society.’” Id. (quoting Miller, 567 U.S. at 472).

      39.       “Rehabilitation cannot justify the sentence, as life without parole

‘foreswears altogether the rehabilitative ideal.’” Id. at 207-08 (quoting Miller, 567

U.S. at 473).




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      40.    Therefore, “the characteristics of youth, and the way they weaken

rationales for punishment, can render a life-without-parole sentence

disproportionate” to juvenile offenders’ culpability for crimes they commit, which

violates the Eighth Amendment’s prohibition against grossly excessive punishment.

Miller, 567 U.S. at 472-77.

   B. As a result of these differences, the Supreme Court has forbidden
      LWOP as unconstitutionally disproportionate punishment for all but
      the rarest of youth who demonstrate “irreparable corruption.”
      41.    In 2010, the Supreme Court held LWOP sentences for juvenile

offenders in nonhomicide cases were unconstitutionally disproportionate

punishments that violate the Eight Amendment. Graham, 560 U.S. at 82.

      42.    In 2012, the Supreme Court held LWOP sentences for juvenile

offenders in homicide cases were an unconstitutionally disproportionate

punishment that violates the Eighth Amendment. Miller, 467 U.S. at 472-77.

Rather, the Supreme Court required sentencing courts to “consider a child’s

‘diminished culpability and heightened capacity for change’ before condemning him

or her to die in prison[,]” and to “take into account ‘how children are different, and

how those differences counsel against irrevocably sentencing them to a lifetime in

prison.’” Montgomery, 577 U.S. at 195, 208 (quoting Miller, 467 U.S. at 479-80).
      43.    “Because Miller determined that sentencing a child to life without

parole is excessive for all but the rarest juvenile offender whose crime reflects

irreparable corruption, it rendered life without parole an unconstitutional penalty

for a class of defendants because of their status-that is, juvenile offenders whose

crimes reflect the transient immaturity of youth.” Id. at 208 (internal quotation

marks and citations omitted).

      44.    In 2016, the Supreme Court held Miller announced a substantive rule
of constitutional law and therefore was retroactive. Id. at 208-09.



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      45.    “[A] lifetime in prison is a disproportionate sentence for all but the

rarest of juveniles, those whose crimes reflect ‘irreparable corruption.’” Id. at 195

(quoting Miller, 567 U.S. at 479-80 (quoting Roper, 543 U.S. at 573)).

      46.    “Miller made clear that ‘appropriate occasions for sentencing juveniles

to this harshest possible penalty will be uncommon.’” Id. at 208 (quoting Miller,

567 U.S. at 479).

      47.    “Miller’s conclusion that the sentence of life without parole is

disproportionate for the vast majority of juvenile offenders raises a grave risk that

many are being held in violation of the Constitution.” Id. at 212.

   C. For those who are not “irreparably corrupt,” there must be a
      meaningful and realistic opportunity to obtain release, and Kansas’s
      parole system fails to meet this standard.
      48.    The Eighth Amendment forbids for all but the rarest juveniles a

“sentence [that] guarantees he will die in prison, without any meaningful

opportunity to obtain release, no matter what he might do to demonstrate that the

bad acts he committed as a teenager are not representative of his true character,

even if he spends the next half century attempting to atone for his crimes and learn

from his mistakes.” Graham, 560 U.S. at 79.

      49.    To avoid this unconstitutionally disproportionate punishment for
juveniles, a state must provide “some meaningful opportunity to obtain release

based on demonstrated maturity and rehabilitation.’” Miller, 567 U.S. at 479

(quoting Graham, 560 U.S. at 75).

      50.    “The ‘remote possibility’ of [executive clemency] does not mitigate the

harshness of the [LWOP] sentence.” Graham, 560 U.S. at 70 (citing Solem v. Helm,

463 U.S. 277, 300-01 (1983)).

      51.    In Solem, the Supreme Court explained the differences between
clemency and parole: “As a matter of law, parole and commutation are different



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concepts, despite some surface similarities. Parole is a regular part of the

rehabilitative process. Assuming good behavior, it is the normal expectation in the

vast majority of cases. The law generally specifies when a prisoner will be eligible to

be considered for parole, and details the standards and procedures applicable at

that time. Thus it is possible to predict, at least to some extent, when parole might

be granted. Commutation, on the other hand, is an ad hoc exercise of executive

clemency. A Governor may commute a sentence at any time for any reason without

reference to any standards.” (internal citations omitted; emphasis added). Id.

      52.    “Allowing [juvenile] offenders to be considered for parole ensures that

juveniles whose crimes reflected only transient immaturity-and who have since

matured will not be forced to serve a disproportionate sentence in violation of the

Eighth Amendment.” Montgomery, 577 U.S. at 212.

      53.    Mr. Makthepharak “must be given the opportunity to show [his] crime

did not reflect irreparable corruption; and, if it did not, [his] hope for some years of

life outside prison walls must be restored.” Id. at 577 U.S. at 213.

      54.    “Maturity can lead to that considered reflection which is the

foundation for remorse, renewal, and rehabilitation. A young person who knows

that he or she has no [expectation other than to die in] prison … has little incentive
to become a responsible individual.” Graham, 560 U.S. at 79.

      55.    “In some prisons, moreover, the system itself becomes complicit in the

lack of development. … [I]t is the policy in some prisons to withhold counseling,

education, and rehabilitation programs for those who are ineligible for parole

consideration. A categorical rule against [LWOP] for juvenile nonhomicide

offenders avoids the perverse consequence in which the lack of maturity that led to

an offender’s crime is reinforced by the prison term.” Id. (citation omitted).

      56.    Accordingly, the Tenth Circuit has recognized that when a juvenile is
sentenced to a life term with the possibility of some form of parole, if that possibility


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does not provide a meaningful opportunity to demonstrate maturity and

rehabilitation, it violates the Eighth Amendment. Rainer v. Hansen, 952 F.3d 1203,

1210 (10th Cir. 2020). In 2022, the Tenth Circuit reversed the dismissal of a 42

U.S.C. § 1983 petition for declaratory and injunctive relief challenging such a

sentence in Oklahoma on those grounds, that Oklahoma’s discretionary parole

system for juveniles sentenced to life in prison is insufficient to provide that

opportunity. Thomas v. Stitt, No. 21-6011, 2022 WL 289661 (10th Cir. Feb. 1,

2022).

II. Kansas’s policies and practices subject Mr. Makthepharak to
    unconstitutionally disproportionate punishment by denying a
    meaningful and realistic opportunity for release regardless of
    individual merit.

   A. Overview of how Kansas violates Mr. Makthepharak’s constitutional
      rights.
         57.   Kansas’s current practices effectively guarantee that Mr.

Makthepharak and those similarly situated, whose sentences encompass a

theoretical opportunity for parole, will die in prison no matter how thoroughly he

has been reformed, all without adequate consideration of his youth status.

         58.   Currently, and at the time of Mr. Makthepharak’s conviction, Kansas
law permits life sentences for youth in certain non-homicide cases, see, e.g., K.S.A. §

21-6627, and mandates life sentences in all cases of murder. See K.S.A. § 21-

6806(c). In practice, Kansas denies those sentenced under these law any

meaningful opportunity for release on parole regardless of demonstrated

rehabilitation. This violates the rights of Mr. Makthepharak under the Eighth

Amendment and Section 9 of the Kansas Bill of Rights.

         59.   Although Kansas law describes life sentences as “parole-eligible,” in

practice Mr. Makthepharak will never be paroled, regardless of his demonstrated
maturity, rehabilitation, or other individual aspects of his record.


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      60.    Kansas’s parole scheme for people like Mr. Makthepharak sentenced to

life in prison for murders as juveniles is a system of parole in name only. In all

significant respects, it is an ad hoc system of executive clemency in which

opportunities for release are all but non-existent. It fails to afford Mr.

Makthepharak and those similarly situated to a meaningful and realistic

opportunity for release upon demonstrated maturity or rehabilitation.

      61.    As a matter of law, the authority to parole Mr. Makthepharak is

exclusively in the hands of the Secretary of Corrections, a gubernatorial appointee,

and three of his appointees, without any transparency, constraints, standards, or

mechanisms for review and without regard for an individual’s juvenile status at

time of offense.

      62.    58. Moreover, the state's parole policies and practices make no

distinction between youth and adults, fail to adequately consider the attributes of

youth, and rely on risk assessment tools that penalize those who were young at the

time of offense, all while fundamentally impeding individuals from vindicating their

rights to a meaningful opportunity for release.

      63.    By categorically barring those sentenced to life for homicides, including

juveniles, from progression to security classifications within the DOC below
medium-high, Kansas denies opportunities to progress through the DOC system to

demonstrate their maturity and rehabilitation, in violation of the Eighth

Amendment and § 9 of the Kansas Bill of Rights.

      64.    By operating a scheme in which the only opportunity for release is ad

hoc and unreviewable executive action, devoid of standards, by which it is nearly

impossible to actually obtain release regardless of individual merit, Kansas’s

policies and practices convert life sentences into de facto LWOP sentences. As

applied to Mr. Makthepharak, as well as those similarly situated, this subjects him




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to unconstitutionally disproportionate punishment in violation of the Eighth

Amendment and § 9 of the Kansas Bill of Rights.

   B. Kansas mandates life (i.e., “imprisonment for life”) sentences for
      juveniles whose crimes do not reflect irreparable corruption.
      65.    Mr. Makthepharak, as well as those similarly situated, is serving a life

sentence in Kansas that purports to be parole-eligible.

      66.    Just as with Mr. Makthepharak, many of the juveniles were sentenced

under a mandatory sentencing scheme that mandates life sentences in any case of

murder regardless of a person’s juvenile status. See K.S.A. § 21-6806(c).

      67.    As a matter of law, and at the time of Mr. Makthepharak’s conviction,

a conviction for murder and subsequent punishment of “imprisonment for life and

shall not be subject to statutory provisions for suspended sentence, community

service or probation,” as prescribed in K.S.A. § 21-6806(c), ensures that Mr.

Makthepharak spends the remainder of his natural life in the custody of the DOC.

Under Kansas law, “a life sentence mean[s] [defendant] could spend ‘the rest of [his]

natural life’ in prison.” State v. Denmark-Wagner, 292 Kan. 870, 880, 258 P.3d 960

(2011).

      68.    At the same time, and also as a matter of law, in Kansas, there is no
protectable liberty interest in parole. Gilmore v. Kansas Parole Board, 243 Kan.

173, 180, 756 P.2d 410 (1988). Rather, under Kansas law, because parole is entirely

discretionary,, “the Kansas parole statute does not give rise to a liberty interest

when the matter before the Board is the granting or denial of parole to one in

custody.” Id.

      69.    There is no minimum age for being charged with murder or receiving a

mandatory life sentence in Kansas. Additionally, Kansas law gives judges absolute

discretion in deciding whether or not sentences are to be served concurrently or
consecutively with any other sentence. See K.S.A. § 21-6606(a).


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      70.    At the time of Mr. Makthepharak’s conviction and sentencing to a life

sentence, in such cases, if considered at all, an offender’s youth generally was only

considered in passing, as the life sentence was mandatory and considered to be for

the duration of the defendant’s natural life.

      71.    At the time Mr. Makthepharak was convicted and sentenced to be in

the custody of the DOC for the duration of his natural life, the sentencing court did

not consider his youth status and attendant characteristics before imposing that

sentence. Moreover, without a liberty interest in meaningful consideration for

parole, in which no due process attaches, Mr. Makthepharak continues to be

subjected to cruel and unusual punishment under Kansas’s mandatory sentencing

scheme.

   C. Kansas’s parole scheme operates as a system of clemency that fails to
      afford Mr. Makthepharak and those similarly situated a meaningful
      and realistic opportunity for release upon demonstrated maturity
      and rehabilitation.

      1. The Secretary of Corrections’ authority is exclusive and devoid of
         standards.
      72.    In Kansas, by statute, parole for an indeterminate or off-grid sentence,

such as a life sentence that Mr. Makthepharak has, is effectively solely at the
discretion of the Secretary of Corrections. See K.S.A. §§ 22-3717(g) and 75-5210a.

Within “a reasonable time after a defendant is committed to the custody of the

secretary of corrections,” solely at the discretion of the Secretary of Corrections, “the

secretary shall enter into a written agreement with the inmate specifying those

educational, vocational, mental health or other programs which the secretary

determines the inmate must satisfactorily complete in order to be prepared for

release on parole supervision.” § 75-5210a. Whether the inmate has satisfied this

is further entirely at the Secretary of Corrections’ discretion. Id. “The agreement
shall be conditioned on the inmate’s satisfactory conduct, employment and attitude


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while incarcerated. If the secretary determines that the inmate’s conduct,

employment, attitude or needs require modifications or additions to those programs

which are set forth in the agreement, the secretary shall revise the requirements.

The secretary shall agree that, when the inmate satisfactorily completes the

programs required by the agreement, or any revision thereof, the secretary shall

report that fact in writing to the prisoner review board. If the inmate becomes

eligible for parole before satisfactorily completing such programs, the secretary

shall report in writing to the board the programs which are not completed.” Id.

      73.      The Secretary of Corrections appoints the Prisoner Review Board and

names its Chair and Vice-Chair, all of whom serve solely at the discretionary

pleasure of the Secretary. K.S.A. §§ 22-3709, 75-5205, and 75-52,152.

      74.      Only if “the secretary of corrections has reported to the board in

writing that the inmate has satisfactorily completed the programs required by any

agreement entered under K.S.A. 75-5210a, and amendments thereto, or any

revision of such agreement,” may the Prisoner Review Board proceed to consider the

parole further. K.S.A. § 22-3717(g)(2).

      75.      There are no substantive statutory or regulatory factors guiding,

limiting, or in any way constraining the Secretary of Corrections’ decision-making
regarding the content of the agreement with the inmate, whether the inmate has

satisfied it, or whether it needs modification.

      76.      Nothing requires the Secretary of Corrections to consider an

individual’s youth at the time of offense in exercising his or her discretion for

parole, and all evidence suggests youth is never a fact considered, given that Mr.

Makthepharak was denied parole solely because he did not take responsibility for

the offense.

      77.      The Secretary of Corrections is under no obligation to announce the
bases upon which he she fashions the content of the agreement with the inmate or


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decides whether the inmate has satisfied it or whether it needs modification, and

neither the Secretary of Corrections nor any other department has promulgated or

issued any written, publicly available guidance about any such criteria. Even if a

Secretary of Corrections did announce such criteria, he or she would not be bound

by them and would be under no obligation to adhere to them, and could change

them at any time without notice or explanation.

      78.     Notably, under the unambiguous text of Kansas law, the Secretary of

Corrections possesses unfettered discretion to determine an inmate’s agreement has

not been satisfied or needs further modification for any reason whatsoever or for no

reason at all. Additionally, there is no process for appeal or review of the

Secretary’s decision in either case.

      79.     This statutory framework has remained largely unchanged since at

least 1993.

      2. Prisoner Review Board policies and practices, combined with the
         scheme of executive clemency, deny Mr. Makthepharak and those
         similarly situated a meaningful and realistic opportunity for
         release.
      80.     The policies and practices of the Prisoner Review Board exacerbate

Kansas’s unconstitutional parole scheme, which functions as a system of executive
clemency rather than parole with respect to those who were juveniles at the time of

the commission of their crimes, including Mr. Makthepharak.

      81.     The Prisoner Review Board’s policies and practices make no distinction

between youth and adults, fail to consider adequately the attributes of youth, and in

some respects disproportionately penalize those who were youth at the time of the

offense, all while fundamentally impeding individuals from vindicating their right

to a meaningful and realistic opportunity for release.




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      82.    The Prisoner Review Board’s policies make no distinction between

those whose offenses occurred as youth and those whose offenses occurred as adults.

      83.    Even if the Secretary of Corrections reports to the Prisoner Review

Board that a juvenile sentenced to life has satisfied his agreement, none of the

further statutory factors to be considered in determining whether an individual is

suitable for parole includes explicit consideration of youth at the time of the offense.

See K.S.A. § 22-3717(g)(2) and (h)(2). Upon information and belief, Mr.

Makthepharak avers that Prisoner Review Board members receive no training

pertaining to adolescent psychological development or any other training that would

assist members in contextualizing offenses committed by youth in accordance with

the requirements of Roper, Graham, Miller, and Montgomery.

      84.    The discretionary parole process in Kansas provides no evidentiary

rules, no right to obtain expert assistance or testimony, no cross-examination, no

compulsory process, or the assistance of counsel, and cannot meet the meaningful

requirements under the constitution and enforce Miller’s concerns. See KAR 45-

200-1. In Kansas, for any inmate serving a life sentence, the parole process occurs

in two stages. The first stage is a report from the Secretary of Corrections whether

the inmate has satisfied his agreement. The vast majority of inmates are denied at
that point. And the inmate has no right to challenge the Secretary’s unilateral

determination.

      85.    The Prisoner Review Board is not required to provide any verbal or

written explanation of its decision, though it sometimes does so perfunctorily, as it

did to Mr. Makthepharak.

      86.    Moreover, Prisoner Review Board practices penalize Mr.

Makthepharak and others similarly situated by relying on risk assessment tools

that assess the individual as if frozen in time upon their arrival to the DOC rather
than who he or she is at the time of assessment. These tools take no account of Mr.


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Makthepharak’s maturation over time, accomplishments, or institutional record.

Rather, they penalize those whose were youth upon arrival to the DOC by assessing

them as they were when they were most risky and too young to have developed

factors that the tools deem “protective” against recidivism. By utilizing these tools,

the Prisoner Review Board virtually ensures that Mr. Makthepharak will

demonstrate a moderate to high level of risk even when he is thoroughly

rehabilitated and presents little or no risk.

      87.    The Prisoner Review Board takes the position that its

recommendations and communications with the Secretary of Corrections are

privileged, regardless of whether they are recommendations for parole or

commutation.

      3. DOC policies automatically deny Mr. Makthepharak, as well as
         those similarly situated, rehabilitative opportunities that affect
         his opportunity for release.
      88.    The Secretary of Corrections has adopted policies that bar those

serving life sentences from moving below medium-high security status regardless of

the individual’s institutional record. The Secretary of Corrections further has

adopted policies that categorically bar those serving life sentences, including

juveniles, from eligibility for work release and community corrections.
      89.    In the DOC, security classifications determine virtually all aspects of

an individual’s conditions of confinement. An individual’s security classification

determines in which institutions he or she may be housed, the level of restriction

upon his or her freedom of movement, and all aspects of programmatic eligibility,

including access to treatment, training, and employment.

      90.    The Secretary of Corrections has promulgated a regulation that an

inmate’s security classification is determined by the Security Classification Manual.
KAR 44-5-104. The Security Classification Manual is available online on the DOC’s



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website. See https://www.doc.ks.gov/publications/kdoc-facilities-

management/custody_manual.

      91.    From lowest to highest, the DOC’s security classification levels are

Minimum, Medium Low, Medium High, and Maximum. The classification scheme

is a score-based system that assigns and increases points based on certain factors to

determine at which security level an individual may be safely assigned. To carry

out this scheme, the DOC assesses an inmate’s score and then periodically

reassesses it.

      92.    Under the Security Classification Manual, a juvenile with prior

convictions convicted of murder and sentenced to life will always score no less than

12, meaning he will never be able to move below medium high.

      93.    Yet, because of their differences from adults, juveniles arrive at the

DOC more susceptible to being assaulted and preyed upon, and with greater need

for supportive programming and for opportunities that will enable them to be

rehabilitated. Categorically assigning Mr. Makthepharak and those serving life

sentences to no lower than medium high security, and barring them from any

further progression through the DOC system regardless of any individualized

determination or merit unlawfully denies them a core component of a meaningful
and realistic opportunity for release.

      94.    As noted above, the DOC’s security classification assessment

automatically scores juveniles serving life sentences higher by virtue of their

mandatory life sentences and the nature of their offenses. The same is true for the

re-classification assessment. No matter how Mr. Makthepharak scores on the

assessment, he is categorically barred from moving below medium high security

regardless of his record of accomplishment. In this way, the DOC’s scheme

reinforces the inability to attain opportunities for release for juveniles serving life
sentences.


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      95.    Because virtually every aspect of programming is determined by an

individual’s classification level, the prohibition against movement below medium

high security prevents Mr. Makthepharak from progressing through the DOC and

properly demonstrating his maturity and rehabilitation regardless of individual

merit. Similarly, he is severely limited in his ability to demonstrate rehabilitation

through the gradual earning of additional privileges and the ability to demonstrate

success in lower security settings.

   IV. Mr. Makthepharak’s rights have been violated and he suffers grave
      harms as a result of Kansas’s system of de facto life without parole.
      96.    As a result of the policies and practices of Defendants, and illustrated

by their refusal to recommend parole simply because of factors associated with Mr.

Makthepharak’s convicted offense, principally that he did not take responsibility for

the offense, Mr. Makthepharak has been and consistently will be denied any

meaningful and realistic opportunity to obtain release based on demonstrated

maturity and rehabilitation. Mr. Makthepharak, as well as every inmate within the

DOC in his position, has come to regard parole proceedings as futile and

meaningless, and the idea of parole as completely illusory. No matter how well he

may behave, how consistently he may demonstrate his trustworthiness, or how
much he matures, he can never progress below medium high security to lesser

classifications that will allow him to demonstrate further his readiness for release.

Similarly, the risk assessment tools penalize Mr. Makthepharak and others

similarly situated for their youthfulness at the time of their offense and totally fail

to consider their institutional history and record of accomplishment since

incarceration. As such, Mr. Makthepharak has suffered, and continues to suffer,

violation of his rights under the Eighth Amendment to the U.S. Constitution and §

9 of the Kansas Bill of Rights.




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      97.    Mr. Makthepharak was a juvenile at the time the offenses were

committed and was sentenced to imprisonment for life, where this sentence

guarantees death behind bars for crimes committed as a child under Kansas’s

mandatory sentencing scheme and without adequate consideration of his youth

status, for his role in a murder that occurred when he was 16 years old, and decades

later is being deprived of a meaningful and realistic opportunity for release based

on demonstrated maturity and rehabilitation, in contravention of his federal

constitutional rights.

      98.    Mr. Makthepharak is now 38 years old. He has spent 22 years, more

than half of his lifetime, incarcerated for this offense.

      99.    Mr. Makthepharak was sentenced to life in prison under Kansas’s

mandatory sentencing scheme for felony murder. Nothing in Mr. Makthepharak’s

record suggests, nor was any finding ever made, that his crime reflected that he was

among the “rarest juvenile[s] whose crime reflects permanent incorrigibility.”

      100.   At his parole consideration date, the Prisoner Review Board denied

Mr. Makthepharak at the outset, based on his failure to take responsibility for the

offense. It is unknown what the Secretary’s position was, but on information and

belief it was – and always will be – that Mr. Makthepharak has not satisfactorily
completed his illusory and changeable “agreement.”

      101.   When Mr. Makthepharak first arrived in the DOC, because he was

serving a life sentence, and because of his young age, he was automatically

designated as “maximum” security despite his youth. Mr. Makthepharak is

categorically prohibited from moving below medium high security.

      102.   Mr. Makthepharak has been denied, continues to be denied, and unless

remedied by this Court will continue to be denied, a meaningful and realistic

opportunity for release, in that: (1) he is unable to move below medium high
security regardless of his institutional record, and thus he is barred from developing


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skills that allow him to demonstrate his rehabilitation; (2) he is denied any

explanation for what additional steps he must take to be recommended for parole;

(3) he has been discriminated against with respect to his opportunities for

rehabilitation and release by Defendants’ use of risk assessment tools that hold his

youth at the time of offense against him; (4) he is subjected to a parole system that

operates no differently than a system of executive clemency; and (5) he is subjected

to parole practices that penalize him for his offense, as well as for his young age at

the time of his offense.

                                   Causes of Action

                                      Count One:
Violation of the Eighth Amendment’s prohibition against cruel and
unusual punishment and 42 U.S.C. § 1983
                       (Mr. Makthepharak against all Defendants)

         103.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         104.   The Eighth Amendment forbids a statutory scheme that mandates life

imprisonment for juveniles or permits life sentences for juveniles in non-homicide

cases without adequate regard for their status as minors, and then denies them a

meaningful opportunity for release upon demonstrated maturity and rehabilitation.

A meaningful opportunity for release includes the opportunity to demonstrate

rehabilitation.

         105.   Defendants operate a parole scheme that is indistinguishable from a

system of ad hoc executive clemency in which grants of release are exceptionally

rare, are governed by no substantive or enforceable standards, and are masked from

view by the public and the inmate whose liberty is at stake.

         106.   Kansas’s illusory parole system, in which Mr. Makthepharak’s life
sentence is de facto without parole, as applied to Mr. Makthepharak, has not



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afforded him a meaningful and realistic opportunity for release, in violation of the

Eighth Amendment.

         107.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of the Eighth Amendment.

         108.   The DOC’s practice of automatically classifying all those in Mr.

Makthepharak’s position sentenced to life as juveniles as no lower than medium

high security denies Mr. Makthepharak critical rehabilitative opportunities that are

essential to his ability to demonstrate maturity and rehabilitation.

         109.   Mr. Makthepharak has been injured by Defendants’ policies and

practices by being denied his right to a meaningful opportunity for release from

imprisonment notwithstanding his youth at the time of his offense and despite his

demonstration of rehabilitation, in violation of the Eighth Amendment, giving rise

to his claims for relief under 42 U.S.C. § 1983.

                                       Count Two
Violation of Section 9 of the Kansas Bill of Rights’ prohibition against
cruel or unusual punishment
                       (Mr. Makthepharak Against all Defendants)

         110.   Plaintiff adopts and incorporates every allegation in the paragraphs

above.

         111.   Section 9 of the Kansas Bill of Rights forbids a system that mandates

life imprisonment for juveniles without adequate regard for their status as minors,

and then denies them a realistic and meaningful opportunity for release. A

meaningful opportunity for release includes the opportunity to demonstrate

maturity and rehabilitation.




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         112.   Defendants operate a parole scheme that is indistinguishable from a

system of ad hoc executive clemency in which grants of release are exceptionally

rare, are governed by no substantive or enforceable standards, and are masked from

view by the public and the inmate whose liberty is at stake.

         113.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of Section 9 of the Kansas Bill of Rights.

         114.   Moreover, the Prisoner Review Board’s application here of risk

assessment tools that discriminate against youth has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of Section 9 of the Kansas Bill of Rights.

         115.   The DOC’s practice of automatically classifying all those in Mr.

Makthepharak’s position sentenced to life as juveniles as no lower than medium

high security denies Mr. Makthepharak critical rehabilitative opportunities that are

essential to his ability to demonstrate maturity and rehabilitation.

         116.   Mr. Makthepharak has been injured by Defendants’ policies and

practices by being denied his right to a meaningful opportunity for release from
imprisonment notwithstanding his youth at the time of his offense and despite his

demonstration of maturity and rehabilitation, in violation of the Eighth

Amendment to the U.S. Constitution, and Section 9 of the Kansas Bill of Rights.

                                      Count Three
For declaratory judgment that K.S.A. §§ 22-3717(g)-(h) and 75-5210a are
unconstitutional as applied to Mr. Makthepharak
                       (Mr. Makthepharak Against all Defendants)

         117.   Plaintiff adopts and incorporates every allegation in the paragraphs
above.



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      118.      The Eighth Amendment to the U.S. Constitution requires youth status

to be considered and a finding of “irreparable corruption” before juveniles may be

sentenced to life without a meaningful opportunity for release.

      119.      K.S.A. §§ 22-3717(g)-(h) and 75-5210a violate the prohibition against

cruel and unusual punishment under the Eighth Amendment to the U.S.

Constitution and § 9 of the Kansas Bill of Rights because they mandate what the

Secretary of Corrections and the Prisoner Review Board consider in order to parole

individuals sentenced to life irrespective of any consideration of the youth status of

the offender.

      120.      Mr. Makthepharak has been injured by parole consideration under

these statutes by being denied adequate consideration of his youth before being

denied parole without a meaningful and realistic opportunity for release upon his

demonstrated maturity and rehabilitation, in violation of the Eighth Amendment to

the U.S. Constitution and Section 9 of the Kansas Bill of Rights.

                                   Prayer for Relief

      WHEREFORE, Mr. Makthepharak requests the Court to:

      (1) Declare under 28 U.S.C. §§ 2201-2202 that Defendants have operated, and

continue to operate, a parole scheme that denies individuals, such as Mr.
Makthepharak, who are serving parole-eligible life sentences for offenses committed

as a juvenile, a meaningful and realistic opportunity for release, in violation of the

prohibition against cruel and unusual punishment in the Eighth Amendment to the

U.S. Constitution and the prohibition against cruel or unusual punishment in § 9 of

the Kansas Bill of Rights;

      (2) Declare under 28 U.S.C. §§ 2201-2202 that Mr. Makthepharak is serving

a de facto LWOP sentence under which he has not been afforded any meaningful or

realistic opportunity for release, in violation of the prohibition against cruel and
unusual punishment in the Eighth Amendment to the U.S. Constitution and the


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prohibition against cruel or unusual punishment in § 9 of the Kansas Bill of Rights;

      (3) Declare under 28 U.S.C. §§ 2201-2202 that K.S.A. § 75-5210a, which

grants the Secretary of Corrections the exclusive authority to fashion the conditions

of parole-ability for an inmate serving a parole-eligible life sentence, is

unconstitutional as applied to individuals, including Mr. Makthepharak, who were

juveniles at the time of their offenses;

      (4) Declare under 28 U.S.C. §§ 2201-2202 that K.S.A. § 22-3717(g)-(h),

precluding the Parole Review Board from granting parole to an inmate serving a

parole-eligible life sentence without the approval of the Secretary of Corrections,

and setting the further factors the Parole Review Board should consider, is

unconstitutional as applied to individuals, including Mr. Makthepharak, who were

juveniles at the time of their offenses;

      (5) Declare under 28 U.S.C. §§ 2201-2202 that Defendants’ reliance on risk

assessment tools that discriminate against those who were juveniles at the time of

their offense to assess opportunities for release has denied Mr. Makthepharak a

meaningful and realistic opportunity for release upon a showing of rehabilitation, in

violation of the Eighth Amendment and § 9 of the Kansas Bill of Rights;

      (6) Declare under 28 U.S.C. §§ 2201-2202 that Defendants have denied Mr.
Makthepharak and those similarly situated, a meaningful and realistic opportunity

for release by denying him access to critical rehabilitative opportunities through

policies and practices automatically classifying him as no lower than medium high

security and prohibiting him from progressing to security levels below medium high

regardless of individual merit, in violation of the prohibition against cruel and

unusual punishment in the Eighth Amendment to the U.S. Constitution and the

prohibition against cruel or unusual punishment in § 9 of the Kansas Bill of Rights;

      (7) Enjoin Defendants immediately to discontinue these practices and to take
remedial steps to address their past illegal conduct, by granting Mr. Makthepharak,


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and those similarly situated, a meaningful and realistic opportunity to demonstrate

his readiness for release, including fashioning what Defendants must meet in order

to do so, which includes but is not limited to:

   •    Ending the Secretary of Corrections’ unilateral determination of the

        conditions of parole-ability for an inmate sentenced as a juvenile to a parole-

        eligible life sentence;

   •    Requiring the Parole Review Board to disclose to the inmate all evidence to

        be considered before a parole hearing;

   •    Requiring the Parole Review Board to provide the inmate an opportunity to

        be heard and present evidence in support of release;

   •    Requiring the Parole Review Board to provide the inmate a right to hear and

        confront adverse witnesses as necessary;

   •    Requiring the Parole Review Board make a recording of every parole

        interview for the purposes of administrative and judicial review;

   •    Requiring the Parole Review Board to prepare a written decision that is

        comprehensible and sufficiently detailed for a reviewing court to evaluate;

   •    Requiring the Secretary of Corrections and the Parole Review Board to focus

        their parole inquiry as to these inmates on rehabilitation rather than the
        crime severity or older institutional disciplinary history, make the mitigation

        of youth central to the parole interview and decision, and create a

        presumption of relief for inmates sentenced as juveniles to parole-eligible life

        sentences;

        (8) Award Mr. Makthepharak his costs, expenses, and attorney fees under 28

U.S.C. § 1988; and

        (8) Grant such other and further relief as the Court may deem just and

proper.




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                                     Respectfully submitted,
                                     Jonathan Sternberg, Attorney, P.C.
                                    by /s/Jonathan Sternberg
                                     Jonathan Sternberg, Kan. #25902
                                     2323 Grand Boulevard #1100
                                     Kansas City, Missouri 64108
                                     Telephone: (816) 292-7020
                                     Facsimile: (816) 292-7050
                                     jonathan@sternberg-law.com
                                     COUNSEL FOR PLAINTIFF




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